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Respondent stated that he intends to apply for relief in the form of asylum and adjustment of
status based on his relationship to his fiance, whom he intends to marry. The Respondent also
argued that he is not a danger to the community. He has no criminal convictions. He denied
being a gang member and objected to the admissibility of the Form 1-213 and the Prince
George's County Police Department Gang Field Interview Sheet because he lacked the
opportunity to cross-examine the detective who determined that he is a gang member.

        The OHS opposed the Respondent's request for bond. The OHS asserted that the
Respondent is a verified gang member. The Respondent was arrested in the company of other
ranking gang members and was confirmed to be a ranking member of theMS-13 gang by a
proven and reliable source. The OHS argued that the Form 1-213 is admissible as a legally
reliable document in immigration court.

         An alien seeking a custody redetermination under section 236(a) of the Act bears the
burden of demonstrating that he merits release on bond. Matter ofGuerra, 24 l&N Dec. 37, 40
(BIA 2006). The respondent may satisfy this burden by demonstrating that his release does not
pose a danger to persons or property, a threat to national security,or a risk of flight,and that he
is likely to appear for any future proceedings. Matter ofSiniauskas, 27 l&N Dec. 207,207 (BIA
2018); Matter ofAdeniji, 22 l&N Dec. 1102,1111-13 (BIA 1999).

        An immigration judge has broad discretion to consider any matter deemed relevant to
determining whether an alien's release on bond is permissible or advisable. Matter ofGuerra, 24
l&N Dec. at 40 (noting that an immigration judge "may choose to give greater weight to one
factor over others, as long as the decision is reasonable"). Relevant factors include: (1) whether
the alien has a fixed address in the United States; (2) the alien's length of residence in the United
States; (3) the alien's family ties in the United States, and whether they may entitle the alien to
reside permanently in the United States in the future; (4) the alien's employment history; (5) the
alien's record of appearance in court; (6) the alien's criminal record,including the extensiveness
of criminal activity,the recent nature of such activity, and the seriousness of the offenses; (7) the
alien's history of immigration violations; (8) any attempts by the alien to flee prosecution or
otherwise escape from authorities; and (9) the alien's manner of entry to the United States. Id;
see also Matter ofSaelee, 22 l&N Dec. 1258 (BIA 2000).

         After considering the information provided by both parties,the Court concluded that no
bond was appropriate in this matter. The Court first reasoned that the Respondent failed to meet
his burden of demonstrating that his release from custody would not pose a danger to others, as
the evidence shows that he is a verified member ofMS-13. Matter ofSiniauskas, 27 l&N Dec. at
210; Matter ofAdeniji, 22 l&N Dec. at 1111-13; 8 C.F.R. § 1003.19(h)(3). The BIA has held
that, absent any indication that the information therein is incorrect or was the result of coercion
or duress,Form 1-213 is "inherently trustworthy and admissible." Matter ofBarcenas, 19 l&N
Dec. 609,611 (BIA 1988). The Respondent contends that the Form 1-213 in his case erroneously
states that he was detained in connection to a murder investigation. He also claims that the 1-213
is internally contradicts itself as to whether the Respondent fears returning to El Salvador. The
reason for the Respondent's arrest given on his Form 1-213 does appear at odds with the Gang
Field Interview Sheet, which states that the Respondent was approached because he and others
were loitering outside of a Home Depot. Regardless,the determination that the Respondent is a

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gang member appears to be trustworthy and is supported by other evidence in the record,
namely, information contained in the Gang Field Interview Sheet. Although the Court is
reluctant to give evidentiary weight to the Respondent's clothing as an indication of gang
affiliation, the fact that a "past, proven, and reliable source of information" verified the
Respondent's gang membership, rank, and gang name is sufficient to support that the
Respondent is a gang member, and the Respondent has failed to present evidence to rebut that
assertion.

         The Court further held that no bond was appropriate in order to ensure the Respondent's
appearance at future hearings, as he had not met his burden of showing that he would not be a
flight risk. See 8 C.F.R. § 1003.l 9(h)(3). The Respondent's case presents limited eligibility for
relief, thereby significantly diminishing his incentive to appear for future immigration
proceedings. He is not married to his fiance, and any immigration relief that he can be expected
to gain from a marital relationship with her in the future is speculative. Although the Respondent
stated that he intends to file for asylum, his eligibility appears limited to withholding of removal
and protection under the Convention Against Torture due to his failure to file an application
within one year of his arrival in the United States. Those forms ofrelief are limited and contain
standards that are difficult to meet. In addition, the record evidence shows that the Respondent
has a history of failing to appear for proceedings pertaining to his traffic violations. See Bond
Exh. 2, Tab I at 28-29. He asserted that he did not receive notice of these proceedings, but in his
written statement, he admitted that he remembers receiving citations that he chose not to follow
up on. See Bond Exh. 2, Tab B at 5. The Respondent's lack of diligence in following up on his
traffic court cases indicates that he cannot be trusted to appear in immigration court.

        In light of these findings, the Court concluded that no bond was appropriate in this
matter. That order was issued on April 24, 2019. The Respondent reserved the right to appeal.




Date
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                                                             �etli A. Kessler
                                                             Immigration Judge




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